
350 S.W.3d 489 (2011)
In re: the Matter of A.A.G.W; L.D. &amp; D.D., Respondents,
v.
J.C.W. (Father), Appellant.
No. WD 73539.
Missouri Court of Appeals, Western District.
October 18, 2011.
Andrew Colson and Timothy J. Flook, Liberty, MO, for appellant.
Kathryn L. Beeman, Liberty, MO, for respondent.
Before: VICTOR C. HOWARD, P.J., and ALOK AHUJA and KAREN KING MITCHELL, JJ.

ORDER
PER CURIAM:
J.C.W. appeals from the trial court's judgment which authorized the adoption of his son A.A.G.W. by the child's maternal grandparents, L.D. and D.D., and terminated J.C.W.'s parental rights to A.A.G.W. On appeal J.C.W. does not challenge the merits of the trial court's termination or adoption decisions. Instead, his two Points Relied On challenge the trial court's denial of his petition for a writ of habeas corpus ad testificandum, by which he sought to be transported from prison, where he is currently serving a life sentence for second-degree murder, to attend trial. We affirm. Because a published opinion would have no precedential value, an unpublished memorandum setting forth the reasons for this order has been provided to the parties. Rule 84.16(b).
